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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                                       Chapter 7

                                                                 Case No. 20-10553 (CTG)
    START MAN FURNITURE, LLC, et
    al.,1
                                                                 Jointly Administered
                          Debtors.

                                                                 Re: Docket No. ____


    ORDER GRANTING SECOND INTERIM (“NON-CONTINGENCY”) APPLICATION
     FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES OF GIULIANO
        MILLER AND COMPANY LLC, AS ACCOUNTANTS AND FINANCIAL
        ADVISORS TO THE CHAPTER 7 TRUSTEE FOR THE PERIOD FROM
              NOVEMBER 1, 2020 THROUGH SEPTEMBER 30, 2023

                    Giuliano, Miller & Company, LLC (“GMCO”), as accountants and financial

advisors for the Chapter 7 Trustee in the above-captioned cases, filed a Second Interim (“Non-

Contingency”) application for allowance of compensation and reimbursement of expenses for

the period November 1, 2020 through September 30, 2023 (the “Second Interim Application”).

The Court has reviewed the Second Interim Application and finds that: (a) the Court has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) notice of the Second

Interim Application, and any hearing on the Second Interim Application, was adequate under the

circumstances; and (c) all persons with standing have been afforded the opportunity to be heard

on the Second Interim Application. Accordingly, it is hereby




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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include: Art Van
Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF Holdings I, LLC (2537); AVF Holdings
II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art Van Furniture of Canada, LLC (9491); AV Pure Sleep
Franchising, LLC (8968); AVF Franchising, LLC (6325); LF Trucking, Inc. (1484); Sam Levin, Inc. (5198); and Comfort
Mattress LLC (4463). The location of the Debtors’ service address in these chapter 11 cases is: 6500 East 14 Mile Road, Warren
Michigan 48092.


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                   ORDERED that the Second Interim Application is GRANTED, on an interim

basis. Fees in the amount of $1,142,268.00, and costs in the amount of $6,505.89, are allowed on

an interim basis. The Chapter 7 Trustee in the above cases shall pay to GMCO from any

available assets of the Debtors’ estates in accordance with the Final Cash Collateral Order the

sum of $1,142,268.00 as compensation and $6,505.89 as reimbursement of expenses, for a total

allowance of $1,148,773.89 for services rendered and disbursements incurred by GMCO for the

period November 1, 2020 through September 30, 2023.

                   ORDERED that this Court retains jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.




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